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IN THE UNITED STATES BANKRUPTCY COURT FOR THE WESTERN

DISTRICT OF WASHINGTON
In re: Francis D. Koblak and Kathryn A. Koblak, Case No. 05-43012-PBS
Debtors. Chapter 7 Case »

Judge Paul B. Snyder

 

Pam Lieske .
4925 Parkway Drive ~s =
Garfield Hts., OH 44125 cr
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Plaintiff i ‘
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| 223 2
ve e O85 @
eS a
2 ws Pa
Francis D. Koblak *
Kathryn. A. Koblak
206 Tilley Avenue
Centralia, WA. 98531
Defendants

COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT
Now comes Plaintiff, Pam Lieske, with her complaint that states as follows:

1. This action arises in the bankruptcy case of Francis D. Koblak and Kathryn A. Koblak
under Chapter 7 of the Bankruptcy Code and being Case No. 05-43012-PBS presently pending
before this Court.

2. The Plaintiff, Pam Lieske, is a creditor of the Defendants, as the result of a real estate

transaction which occurred between the parties on or about May 2002.

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3. Onor about May 16, 2002, Plaintiff made an offer, and subsequently purchased, from the

Defendants, the real property located at 4925 Parkway Drive, Garfield Hts, OH 44125. (A copy of

the Offer to Purchase is attached hereto as Exhibit A and incorporated herein by reference).

4. In conjunction with the execution of this purchase, Plaintiff was provided with a

Residential Property Disclosure Form, which had been executed by the Defendant, Francis Koblak

on January 3, 2002. A copy of this Disclosure Form, hereby called Disclosure Statement, is
attached hereto as Exhibit B and incorporated herein by reference.

5. Plaintiff received a copy of the Disclosure Statement prior to purchasing the above
mentioned property and relied on the Disclosure Statement and the representations of the
Defendants therein regarding the condition of the real property.

6. Essentially, the Disclosure Statement set forth no known defects in the real property other
than basement water problems that were resolved once the city sewer was cleaned of roots.

7. In fact, the Disclosure Statement executed by the Defendants and provided to the Plaintiff

was not accurate and such inaccuracies were known to the Defendants at the time they caused the

Disclosure Statement to be provided to Plaintiff. Specifically, the real property was afflicted with

(1) substantial backyard flooding, (2) substantial basement flooding, (3) clogged storm laterals, (4)

combined sanitary and storm lines, (5) sewer odors in the basement and garage.
8. The above mentioned defects were not readily observable by the Plaintiff or her home
inspector prior the purchase of the real property.

9. The disclosure and representations made by the Defendants to the Plaintiff regarding the

condition of the real property were false, and were known by the Defendants to be false at the time

they made such representations.

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10. The Defendants’ false representations regarding the real property were material to the
transaction between the Plaintiff and Defendants since the Plaintiff relied on such representations
when deciding to purchase the real property.

11. As a result of the Defendants’ false representations, the Plaintiff spent more than six
months determining the complex nature of the property’s longstanding flooding problems. She
has paid $5900 in repairs, has an additional $10,900 to pay to finish repairs, has paid $3100 to an
attorney to initiate proceedings against the Defendants, has lost hundreds of dollars in personal
property, and has paid hundreds more to re-landscape both the front and backyards. In addition,
her homeowner’s insurance company refused to reinstate her policy; she is now paying more
money for a homeowner’s insurance policy with substantially less coverage, and she can no longer
afford an attorney to pursue this matter further.

12. The damages visited upon the Plaintiff as a result of the Defendants’ conduct constitute a
debt for money that was obtained by false pretenses, false representation and/or actual fraud. A
copy of Plaintiffs previously retained lawyer’s initial letter to the Defendants and a copy of the
pending legal charges filed against them are attached hereto as Exhibit C and Exhibit D. A copy
of Garfield Heights, Ohio maintenance records for the years 1999-2001 for the property at 4925
Parkway Drive is attached hereto as Exhibit E. A copy of a statement made by the Maintenance
Manager for the Cuyahoga County Sanitary Engineers Sewer Maintenance Department is attached
hereto as Exhibit F. A copy of a statement made by the Plaintiff's contractor attesting to the
longstanding drainage and water problems is attached hereto as Exhibit G.

13. Based upon the foregoing, Plaintiff's claims against the Defendants are excluded from the
Defendants’ discharge pursuant to the provisions of 3523 (a) (2) (A) of the Bankruptcy Code.

WHEREFORE, the Plaintiff demands judgment against the Defendants that the claims set forth

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c
herein are excluded from the Defendants’ discharge pursuant to the provisions of $523 (a) (2) (A)

of the Bankruptcy Code and for such other and further relief as is just and equitable..

Sincerely,

Marr hiasks%

Pam Lieske

4925 Parkway Drive
Garfield Hts, OH 44125
(216) 581-7749
plieske@kent.edu

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p5/16/2082 B5:41 _ 2168892112 CENTURY21 ARROW REAL — | PAGE 14
ote ‘Contuy, tI CENTURY 21 Arrow Realty Ld 216-883-2100 office

. om DL " 4975 Turney Rd., Garfield Hts. Ohio 44125" 216-883-2112 fax

gee OFFER TO PURCHASE _ 1-888-430-SALE

' Reh Citic indgqencenuy pwned ang Onermed

1. PURCHASER) Ue the undersigned PAMELD Al ESKE 49/2

| 2. [PROPERTY] hereby offers and agrees tu buy the following described property, which PURCHASER accepts mils PRESENT CONDITION, together
-with all appurtenant rights. privileges and easements, thereunty belonging subject to all fegal highways and including, withovt Gmiations, aff the jing,
buildings and fixtures ag are now on the progerty In thelr presant condition, including but not limited to such of the following: all electrical, heating,
plumbing, bathtoom fitures, window and door shades: window and door Screens; storm windgws and doors, shutters, awnings: yenetian blinds; curtain,
traverse and drepe rods. ceiling fans: fireplace tools, sereon, glass doors and grate: garage door opener and ai! controls; wail to wall carpeting: TY

. antenna; amokea detectors; shrubs, trees and ai landscaping TF, E C vv OF a Fe & .8 #i, oe mize “oy feaS

. THe property is located in

The street and number is Af GAS” FAEK: WA ¥
the land as pet the County auditors Map Records, il reaere ah ; : ve L-

» 3, [PRICE] for which we agree to pay the surn of 5 eile eine on the following tern) if Co, down, Dulance Io

’ secured by first mortgage to any availuble landing institution, at current market interest tates and tarts. oe C. —

  
  

 

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: 4. FEINANCINGH ‘it is specifically understood and agreed that the purchesers herem, shall apply for a first mortgage loan within saver (7) days fron the
u sellers acceplence date of thig agreement. Loan coramitmamn! lo be secured within. banking days. if, despite PURCHASHERS good fath efforts, a
aan cammitment carne! be-obtalned, then this agreement shail be hull and void Upon signing of 3 mutual release py SELLER and PURCHASER! ine
“ggmest money deposi shall be returned to the PURCHASER witout any further lisdility of either party to the other] ar CENTURY 21 Arcow Ready,
8. [GLOSING} All funds ead decumants necessary for the completion of this tranzaction 5 al be placed in escrow with the lending Institution or tite
company on ot about SEL A? 70 Chad and title shall be transferred on or about 20 Te,
_ 8; TILE) SELLER to give goed end suificient dead and title to szid property and furnieh Sat of the cost tn a owners fee policy of Tite Insurance in
é the amount of the purchase piece shewing Bema to be free of all ze ae ancy egnces unt I restrictions, of reserd, zoning ordinances, easements.
and rights of ways. if any, Tile conimitment to be furnished by _ Kany defect of titie of encroachment ts
-macovered prior tp the- time of closing and nol waived by PURCHASER, the SELLERS shall b¢ antitied to a reasonable extension of time for closing,
byt to more than thirty (30) deys from the dats the SELLER 15 notified of the defect. for an qpoortunity te recieve Such defect,
Q SION! Possession of vacated promites to be dehvered ta PURCHASER on or before 5 days alter trensfar of title. Possession i
iB 4 subj ect to tenants Hghts, if eny. SELLER shall be entitjed to reside on the pramises (SELLER'S suite onty, if multi- ting) rental free, days fram
thé. ete does te fied for regard, Beginning the a day SELLER shall pay $,"30, = per day rent to purchaser unit ihe Ze% cay. or ectual
possession:
&. eS General taxes, Special assessments, lenants rents and Hamaowner and/or Condominium Associaton duas and fees if any, are to be
protated From date of title trensfer. Taxes shall be prorated according to the lates! available tax duplicate. Tenant security. deposits # any, shull be
eradited'ty the purchager through egerow. The parties herevo agree to adjust directly ‘any change i taxes resulting trom edher a change in valuation
eccurring before. title wareter or fram existing but unasseszad unprovernenta.
9. (CHARGES) SELLER shall pay tha following costs throvgh escrow: (@} Real Estate Transfer Tax, (6) tithe exam and ong-half the premivrn for a
Nes fee policy. (s) any prorationa due PURCHASER, (d) one-half of the escrow fee (unless YAVFHA regulations protubit payment of escrow fees by
PURCHASER in which case SELLER shall fay the entire escrow fee}, SELLER shall pay directlyal way charges to the date of titie transfar or date of
‘possession whichever Is later. Escrow agent is authorized by the SELLER te withhold § rea, #O te s¢cune payment of water and cuwer bills.
PURCHASER shalt secure a new {nsurance policy. PURCHASER shall pay the fotowing costs through escrow; {al afl tecording fees for the deed and
pitguge, (b) one half of the escrow fee, (¢) any costs incidedt te PURGHASER'S financing, and (d} PURCHASER to nay one-hall of the premium
obtain an owner's fre polity of tite ingurance.
F PURCHASERS HEREBY ‘SPECIFICALLY ACKNOWLEDGE aND REPRESENT THAT THEY HAVE BEEN
ED THE OF RTUNITY TO FULLY AND COMPLETELY EXAMINE THE PROPERTY AND HAVING! DONE SO OR BY WAIVING SUCH
eT ‘HEREBY AGREE THAT THE PROPERTY IS BEING PURCHASED IN ITS ‘AS (S” PRESENT PHYSICAL CONDITION INCLUOING ANY
EFECTS DISCLOSED BY THE SELLER ON THE STATE OF OHIO RESIWENTIAL PROPERTY MISCLOSURE FORM, PURCHASER HAS NOT
UPON, ANY REPRESENTATIONS, WARRANTIES OR STATEMENTS ABOUT THE PROPERTY ( inchiding bu! not timited to its condition or
less otherwise ‘disclosed on this contract or on the State of Ohig Residential Property Ulsciosure farm. PURCHASER acsnowiedges that the
nigted the RESIOENTIAL PROPERTY DISCLOSURE FORM ond agrees to hold CENTURY 21 Arrow Reaty and its agents harmiees trom
tatements or errors made by the SELLER on the fer, PURCHASER algo acknowledges and agrees that CENTURY 21 Arrow Realty and ity
ean tg have He obligation to verity or investigate the Information provited by the seller on sald form. ‘PURCHASER herevy acknowledges that any
presentation by SELLER or their Real Exiate Agent(s) ragarding the square footage of the roontk, structures oF lof dimensions are uppréeximate and
"Ol gusrantead, SELLER shall pay ail costs for the repair of any ges and of water line laaks found st Ine sniper property at the time of {ranefer of
“wtt@ies, SELLER shall furnish any ducupancy permits required by jew and deposit same in escrow.
11, [DAMAGE] If any building or other improvements are damaged in excere of twenty per cent of fhe | rchaee prieg prior fo title Uaneter,
PURCHASER shell have the, option ta) to recaive the procesds of any insurance paysbie in connection therewith br (b) to terminate this agreement and
f.- to recover al funds theratofore pald, if damage i8 jess than twerity per cant of the purchase price, seller shall restore the property to its prior condition.
i 72, [BINDING CONTRACT) Upon written acceptance, this offar shall become a LEGALLY BINDING AGREEMENT, BINDING UPON BOTH THE
-, PURCHASER AND SELLER ond their respective heirs, assigns, axegutors and sdreunistrators and shall represent the, venting understanding of the parties
tn this transaction. This agreement shall oa Use as escrow instructions subject lo Escrow Agents usual conditions of ecceptanes.
3. DEPOSIT RECEIPT) SELLER ix hergby notified that x $1900.00 promissory note, earnest money wil pe redeemed and dupgaited in. CENTURY 34
; aren Avalty'’s trust account within | 3” days of tinal acceptance of this offer, Deposit te ba applied to the purchase price Notification of deposit to
"ge forwarded to escrow agent.
“44 JADDENDA] ( ) OHIO RESIDENTIAL PROPERTY DISCLOSURE: ( ) LEAD BASED PAINT, [C -) HOME INSPECTION [ |¥es. (| Walyed],
{} AGENCY DISULOSURE; { ) MISCELLANEOUS, ADDENDUM Al }) HOME OWNER WARRANTY [ [res Pald by'[ }Selle?! [Purchaser | Jwaived]

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PURCHASER . . ae ‘ DATE oo, EGF STREET ADDRESS Z/ we)
x) oe a Cle Ke hed, 0 ou LMS: LUE TT
1. _- PURCHASER Ea DATE CITY .-- ‘ th, PHON
- 35, ASCEPTANGE] The undersigned SELLER AccePts the above offet and agrees to ail tne condone. x

     
     
 

   
 

 

 

:) gormlsglon ig negotiable agrees to pay, by inmvocable assignment of escrow funds, 2 tole! egmimission of :
“purchase price or a minimum of $3500.G0, whishave Se role for ts yervice ease Bpoke 4) tg ceNTy Y 2 Arrow Regily LLG.. 4675 Tumey --(y
Ad. Garfield Hts,, Ohio 44123, anc %) to procuring agents in this trengaction.”: FM
‘, SELLERS REPRESENT THAT THEY ARE AWARE OF NO HIDDEN ‘OR LATENT MATERIAL Berecr 1N, THE THE PROPERTY EPT THE

: Rar, Pe . Ne

FOLLOWING (IF NONE WRITE ‘NONE")

 

 

 

   

 

Ze PHONE

PURCHASERS HEREBY ACKNOWLEDGE ANG ACCEPT THE ABOVE DISCLOSURERS ANDIOR CHANGES MADE BY THE SELLER,

eit hl Ar @SHE _ 4-/3-02 Oo pets

PURCHASER(S) DATE/TIME

THIS AGREEM ENT ISA LEGALLY BINDING CONTRACT.F YOU HAVE AN YOUEETIONS OF =} CONSULT aN ST ATTORNEY)

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| |
CENTURY 2] Arrow Realty | 216-883-2100 office
ee  1-888-430-SALE
|
ADDENDUM TO PURCHASE AGGREEMENT
|

The following provisions are part of the OFFER TO PURCHASE between

 

 

 

 

 

| FAMELA L/ESRE | | purchase
and Feancis (oeiak. Ary kayut Kotipx : (Seller)
for property tocated at SG 25- BR RWAY Le ‘ | |
in the City of SS ALF 1 FLD OED. . | . Ohio.

: With offer dated LAY Fa, ROO R_

The undersigned Purchaser and Sejler hereby agree to the following:

 

 

 

@ WELLER FO ComflY ti) TH THE
City  Poreut oF SALE |

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The herein agreement, upon its execution by both parties, is herewith ade an integral
part of the aforementioned OFFER TO PURCHASE.

pate 9 77 @- O62 . Date:__ Lisa 4 =

: " a
Purchaser: “4 ore la Arvest CL seller Zam eet Haile 4
Purchaser | | selec Lattin, Kabbah.

 

 

 

 

 

 

 

 

 

 

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Exhibsr 4

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; STATE OF OHIO
- DEPARTMENT OF COMMERCE

 

 

iL RESIDENTIAL PROPERTY DISCLOSURE FORM

\ uriyantto Chio Revised Code Section $302.30
OE COMPLETED BY OWNER (Fiegase Print)

Projworty Address: of GAS fe A AE CUa4Y DE,
: GALELELO ATS, Off #¢4185~
boners Name(e): FRAMCXLE BOCALML. :
pas Tat 2, OR

 

pacer LC is (2 is not ogcupying the property. ff owner is occupying ths property, since what date?

t

wrose of Disclosure Form: This is a statement of the condition of the propeny and of information concerning the property actually

awn by the owner ag required by Ghlo Revised Cade Section $302.30. Untess otherwise advised in writing by the owner, the owner,
ihe: than having lived at av awning the property, posacases no greater knowledge than that which would be obtained by a careful
“Ingpuction of the property oy a potential pucchazer, Uniess otherwise advised, owner has pot conducted any inspection of gencrally
' nacceseible areaa of the property. THIS STATEMENT IS NOT A WARRANTY OF ANY KIND BY'THE OWNER OR BY ANY AGENT
R SUBAGENT REPRESENTING THE OWNER OF THE PROPERTY. THIS STATEMENT I$ NOT A SUBSTITUTE FOR ANY
INSPECTIONS. POTENTIAL PURCHASERS ARE ENCOURAGED TO O8TAIN THEIR OWN PROFESSIONAL INSPECTION.

  
   
    
 
   
 
 
 

wer's Statement; The representations contalned on this form are made by the owner and are not the representations of the owners
gent of subagent. This form and the representations contained in it ars provided by the owner exclusively fa potential purchasers in a
ranafer made bythe owner, and ara not made to purchasers in any subsequent transfers. The Information contained in thie disclosure
‘forty does not limit ihe obligations of the owner fo disclose an item of information that is required by any other statute or law to be
isaiosed in the transfer of regidential real estate.

Inactuctions te Owner: (1) Anewer ALL questions. (2) Identify any material matters in the property that are actually known, (3) Attach
déional pages with your signature if additional space is needed. (4) Complete this form yourself. (8) if some items do not apply to
abe ‘property, write NA (not applicable), ifthe item ta be disclosedis not within your actual knewledge, Indicate UNKNOWN,

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2 AS gag EE SS Fle a

 

THE FOLLOWING STATEMENTS OF THE OWNER
ARE BASED ON OWNER'S ACTUAL KNOWLEDGE

4 WATER SUPPLY: The source of water supply to the property is (check appropriate boxes):

BE Public Water Service () Private Water Service TL} Weil (7: Holding Tank
[} Cistern [] Spring [} Pond CJ): Unknown
LC) Other

 

4

! if owner knows of any current leaks, backups of other matetial problems with the water syPRly system of quality of the water,
please describe: AJC)

 

 

a ee ee tee

 

; ) SEWER SYSTEM: The nature of the sanitary sewer system servicing the property is (checkappropriats boxes):
: ES Public Sewer C] Private Sewer [) Septic Tank | (} Leach Field
{"] Agration Tank (7) Fittration Bed LC) Unknown i

; C] Other_

if not a public or private sewer, date of last inspection

 

Y owner knows of any current leaks, backups or olher material problems with the sewer system servicing the property, please
describe:

Sse see ee soos Be emi ements . "
4

pp we ee or

 

 

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ROOF: Do you know of any current Ipaks or other materlal problems with the reat or rain guitars? (J Yes it No
tt Yes", please describe:

 

if owner knows of aay leaks or other material probleme with the roof or rain guitare since) owning the property (but not ionger
z1ofs

FS vot ie heHrise or use veh Fneaadaber” Fours Soitware ay ISG, Inc, S00496-1127

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bee

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\_, than the past 5 yoars) pleage describe and Indicate any repairs completed: NM Qt

a “

aad

BAS EMENTICRAWL SPACE: Do you know of any current water leakage, water aooumulatien, excess dampieas of other
defects with the basemenUcrawl space? [] Yes FL No

yes" please describe,

Hf owner knows of any repairs, alterations of modifications to the propery of other attempta to contro) any water or dampncae

ement ar oral space since owning ue proporty (byt net longerithan jhe past $ years) plegee

STRUCTURAL COMPONENTS (FOUNDATION, FLOORS, INTERIOR AND EXTERIOR WALLS): De you know of any mavens

shifting, deterioration, material cracks (other than visible minor cracks of blemishes) ot piher material problems with the
' foundation, flaars, or interiot/exterior walla? CL] Yes: al Na

   
 
   

 

it"yes”, please describe;

——

if you Know of any repairs, alterations or modifications to control the cause of effect of any problem identified above, since
owning ihe property (ut not longer than the pest 5 years) piease describe: ___

{
r

MECHANICAL SYSTEMS: Go you know of any current problems or defects with the mochanical systems? [1] Yee [Cj No

If “‘Yos", pieagse describe: ___ \
—- i
For purpgses of this section, mechanical systems include electrical, plumbing (pipes), central heating and alr conditloning,

sump pump, fireplace/chimney, lawn sprinkler, water softener, security systema, central vaouyim, or other mechanical systems
that exist on the property.

WOOD BORING INSECTS/TERMITES: Do you know of the presoance of any wood boring ingectsAermites In ar on the property. or
any existing damage to the preperty caged by wood boring Insectstermites? C] Yes x No

It Yes", pleage describe: |

 

 

 

or

- pve amen

If owney knaws of any inspection or treatment for wood boring insectsAcrmites, since owning the property (but not fonger than
the past § years) please describe: |S

 

7

PRESENCE OF HAZARDOUS MATERIALS: Do you have actual knowledge of the presence of any of the below identified
hazardous materials of the property? YES NO

4a) 7 YES" indicate ievel of Gas if known

 

 

3) Othertoxie substances Cl]
Sa} it "YES" speclfy substance

1) Lead-Based Paint o wm oe
2) Asbastes CO fe
3) Urea-Formaldehyde Foam Insulation . aR R
4} Radon Gas i QO nm
O n

 

ithe answer to ary of the above questions is “Yos", pleases describe:

 

 

 

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PM a licetted her use with Fanmualadar” Fons Sottware by (8G, Ina, 805-936-1027

 

 

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— pike oe A er rrr Fl. &

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, I h BS DGAINAGE: De you know ‘of any current flooding, drainage, settling or grading problems affecting the propeny?

ii Yee 2Y No

if Ves", please describe: be teens

ooo

 

 

 

rece ry

If owner knows of any repairs, modifications or alteratiana ta the preperty or other attempts ta control any fiooding, drainage,
settling or grading prablems since ownlng the propeny (but not longer than the past 5 years) please describe:

 

 

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Hi
n Ee et ~~ eee tet en

a CODE VIOLATIONS: Have you received natice of any building or housing code Violations currently affecting the use of ine
property? (j] Yes (dt No

lf Yes", please describe:

 

 

 

cert ee da eae pate Aa Ser ape te ween T

Kh UNDERGROUND STORAGE TANKANELLS: Do you know of any undergfound storage tanks, oll or natural gas wells
(plugged or unplugged), or abandoned water wells on the property (but not longer than the past § years) please describe:

t a

. Tr an Bp nee ee dn me OE een ee

 

 

| L} OTHER KNOWN MATERIAL DEFECTS: The following are other known material defacts curr ently | in or onthe property:

 

We

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For purposes af this section, matarial defects would include any nan-observable physical candition existing on the propeny

that could be dangerous te anyone occupying the property or any non-abaervable physical condition that would inhibit a
person's use of the propeity.

 

ir

| Quner represents that the statements contained in this form are made in good faith based on higher actual Knowledge ag of the date
( siyjned by the Owner.

oo fa Kahle | ae. _ _ oars 2/7 937 2 2!

“owner: OLS Acts

 

   

 

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RECEIRT AND ACKNOWLEDGMENT OF POTENTIAL PURCHASERS }
| Potential purchasers are advised that the owner has no obligation to update this farm but may de sa acoarding to Revised Code |
| Sqstion 5302 30(G). Pursuant to the Ohio Revised Code Section 5302.30(19, if this form ls not provided to you priorto the time you
| ¢nier into a purchase contract forthe property, you may rescind the purchase contract by delivering a signed and dated document of

; | reucission to Owner or Owners agent, provided the document of rescission is delivered prior to,all three of the following dates: 1) the
“|! dale of the closing: 2) 30 days after the Qwner aceepted your offer; and 3) within 3 business days follawing your receipt or your agent's |

| peieipt of this farm or an amendment of this form.

WHE ACKNOWLEDGE RECEIPT OF A COPY OF THIS DISCLOSURE FORM AND UNDERSTAND THAT THE STATEMENTS ARE |
MADE BASED ON THE OWNER’'S ACTUAL KNOWLEDGE AS OF THE DATE SIGNED BY THE OWNER.

t MyOur signature below does not constitute approval of any disclosed condition as sepresented herein by the owner,

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w? fo

 

 

 

 

 

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PURCHASER: smc DATE: __ pe es
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Tlyé form is icensed for use wih Formulate” Forms Software by ISG, ine 400-996-4027

 

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Exhibir C

‘John M. Gundy, Jn, Ltd.
Afttomey at Law

' Bal00 Chagtin Roulevard + Suite 301
Pepper Pike, Ohio 44124
(216) 292-9750
Facsimile; (216) 595-2787

February 9 , 2004

Francis D. Koblak.
Kathryn A. Ralfe
206 Tilley Ave.
Centralia, WA 93531
Re; 4925 Parkway Drive, Garfield Heights, Olio

Dear Mr. Koblak and Ms. Rolfe:

Please be advised that I have been retained by Pam Lieske regarding her
purchase of your home, In the Residential Property Disclosure Form you indicated that
there were no problems with the sewer system and that the basement once had a water
problem hut it was corrected when the city cleaned the roots out of the sewer. The cities
records on this issue show that the house had ongoing water problems throngh 200! and
that the problem was never permanently corrected.

Three of your neighbors, Linda Stutzman, Temi Denninger and Alisa Martin have
confirmed that the house and backyard flooded repeatedly. Dirt was placed in the
horthem: property line to limit the flooding.

Shortly after taking possession of the houss it flooded causing damage fo my
clients personal belongings. My client has paid $5,900 in repairs for this problem, She
has estimates for an additional $]0,909 in estimated repairs, Additionally she has lost
hundreds of dollars in personal property and spent countless hours working to repair these
longstanding problems that you were required by law to disclose. [have enclosed the
cities report on this house, fe Disclosure Form and the estimates. Please call me to
discuss 2 resolution of this issue immediately. If we can not resolve this amicably J will
be forced to seek redresa through the Coust of Common Pleas in Cuyahoga County.

Sincerely Yours,

John M. Gundy Ir.

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IN THE COURT OF COMMON PLEAS

CUYAHOGA COUNTY, OHIO. ,,,

Exh bir O

 

 

PAM LIESKE )
4925 PARKWAY DRIVE }
GARFIELD HTS., OHIO 44125 } CASE NO.:
Plaintiff ‘
Judge: WILLIAM J COYNE _
vs CV 04 534272
Francis D. Koblak .
206 Tilley Ave. )
Centralia, WA 98531 )
) a
a and ) COMPLAINT
Kathryn A. Rolfe )
AKA Kathryn A. Koblak }
206 Tilley Ave. )
Centralia, WA 98531 )
Defendant )
)
Now comes, Plaintiff though and by her attormey state her cause of action:
1. Plaintiff purchased a home on or about June 28, 2002 located at 4925 Parkway
Drive in the city of Garfield Hts, State of Ohio 44125. _
2. Plaintiff, relied upon a Residential Property Disclosure Form in purchasing this
property.
3. Defendants indicated in the Residential Property Disclosure Form that there

were no problems with the sewer system, and that the basement once had a water

problem which was corrected.

4. Garfield Heights maintenance records indicate that the house had ongoing water

problems through 2001 and that the problem was never permanently corrected.

5. Since purchasing the house the backyard and basement have flooded repeatedly.

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Plaintiff states that these floods have damaged her personal belongings, anc
decreased the value of the property, and had she known of these problems she

would not have purchase the home or paid significantly Jess for the property.

7. Defendants are lable to Plaintifl foc the damages she has suffired asatesultof
their failure to disclose these known problems on the Residential Property

. Disclosure forms and for the verbal assurances given to Plaintiff.
WHEREF “ORE, ‘Planaiti tiff pesys fora lidgment against the Defendants iomily and
severally in the amount of Twenty Thousand dollar ($20,000.00) together with interest, costs and

such further relief as this court deems just.

Respectintly ¥. ‘submited,

 

John M Gundy, (#60148)
. 36¢668 Chagrin Biv ~
_ Pepper Pike Olio 44124

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INCIDENT REPORT FORM

E xA bit E

 

 

 

 

 

 

 

 

 

 

“LOCATION WARD DATE INCIDENT NUMBER
cal 1 ae -
O25 hd @ S 10/63 - 2734
>E OF INCIDENT: 2 Debris DC citer D Streettignt Gut C1) Water Breaks
Sroken Curb Cj Exterior Maintenance O Refuse/Trash CO traftic Signal Out C) Weeds/Grass
Broken Sidewalk 1 Hele in Street [) Rodent (J tratfic Sign Down Other.
Dead Animal O lce/Snow Ci Sewers Oo Trees /
MMENTS: —a ke =e C/ /
. Jf

<— Cy) C&C { ihe i ‘I

IDENT REPORTED BY: INCIDENT TAKEN BY:

we Oe MOE

SLES
DRESS: OSA CEPOL KD? fel. .

 
 
    

‘ERRED TO:

CI Building

 

PHONE:

 

 

C1 Nutrition

 

 

CJ Finance

&nimal Control O Engineer C} vaw C] Parks C1 service
Architect — C1 Executive oO Legisiative C1 Recreation C1 other. | i

TION TAKEN:

CI satety DESIGNATED To:

 

 

 

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E INCIDENT RESOLVED:
} lein 1}

- DATE SSrefo2
to be vetted xX Pare Avec

 

oe ee DEPARTM ENT COPY -
4925 PARKWAY . . BLOCKED SEWER TO STS 75" OUT AUGUST 17, 1999
4925 PARKWAY BLOCKED SEWER 50' TO ST/HS OUT FEBRUAR 17, 1999
4925 PARKWAY BLOCKED SEWER 45' NOTHING ON CUTTER AUGSUT 08 2000
4925 PARKWAY BLOCKED SEWER 45 PAPER OUT AUGUST 16, 2000
4925 PARKWAY BLOCKED SEWER 75" DECEMB 09, 2000
4925 | PARKWAY BLOCKED SEWER 60’ NOTHING ON CUTTER/CALL FEBRUAR 18, 2001
4925 PARKWAY ‘BLOCKED SEWER/TY BELLY/DOWN SPOUTS JANUARY 19, 2001
4925 PARKWAY BLOCKED SEWER FROM HENIA COURT AND PARK JANUARY 24, 2001
Page 7 “oft

  

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a 3 COMMISSIONERS
3 a
v C °. Jimmy Dimora
a a Peter Lawson Jones
% wats Tim McCormack

% é

tung?
September 26, 2003

Ms. Pam Litski
4925 Parkway Ave.
Garfield Heights, Ohio 44125

Ms. Litski,

This letter outlines the service that was performed by the Cuyahoga County Sanitary
Engineers Sewer Maintenance Department at your residence at 4925 Parkway, Garfield Heights.

The City Engineer, Bob Tomesak has asked that our department inspect your storm sewer
system. The recent flooding you have experienced along with the fact that your sanitary lateral
has a backflow preventer installed on it, leads us to believe that the reasons for the flooding in
your home is because of the storm sewer system. In order for us to check the storm system we
will have to locate the storm lateral.

On August 26" and 27" 2003, after excavating the property, our construction crew
uncovered a 6” storm lateral coming from the front of the house. This lateral appears to have
been installed too deep for the connection on the city main storm sewer. The installers of this line
bypassed this problem by connecting the foundation and storm dratns from the left side of the
house into the sanitary lateral. The right side storm drains are tied in properly.

This improper connection of the storm sewer is a contributing factor in the flooding in the
basement and also contributes to the overloading of the sanitary mainlines.

Respectfully submitted,

Mr. John P. Neff 7? iV
Maintenance Manager

Department of Development, Sanitary Engineering Division, 6100 W. Canal Road, Valley View, Ohio 44125
(216) 443-8237, FAX (216) 443-8086, Ohio Relay Service 711

 

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Mike Behory

Berea Contractors

6410 Columbia Road

Olmsted Township, OH 44138

John Gundy, Attorney
30100 Chagrin, Suite 301
Pepper Pike, OH 44124

21 February 2005
Dear Mr. Gundy:

As the owner of Berea Contractors, | have repaired water and drainage problems on
numerous houses over the last twenty years, and consider myself an expert in the field.

lam very familiar with the flooding and drainage problems at 4925 Parkway Drive in
Garfield Heights, Ohio and have examined the house at least five times. I first examined
the house and spoke with Ms. Lieske in July 2003, after the installation of drain tile in the
backyard and the second flooding of her basement. At that time I told her that it was my
opinion that combined sanitary and sewer lines were likely the root cause of her problems
and the reason why the drain tile did not correct the flooding. I next spoke with her after
the city engineer visited her house and refused to acknowledge the possibility of
combined sanitary and storm lines on her property.

I was also present when the Garfield Heights Service Department first discovered
combined sanitary and storm lines with video cameras and again when the county
unclogged two storm laterals from the front and southwest corner of the house. In
September my company removed footer tile out of the sanitary line near the foundation,
installed a new storm line from the left side of the house that connected to the opening
left by the county, and installed a sump pump in the basement. Ms. Lieske is aware that
additional work to separate sanitary and storm lines needs to be done on the north side of
the house (garage and patio area), and she has estimates for this work.

It is my professional opinion that the complexity of water problems at Ms. Lieske’s house
(standing water in backyard, basement flooding, sewer back-up) are long-standing and
have cccurred over many years, even decades. My examination of, and work on the
house, attest to this fact.

   

 

Beret Contictos’

 

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Ba ADVERSARY PROCEEDING NUMBER
reves, ADVERSARY PROCEEDING COVER SHEET (Court Use Only)
(Instructions on Reverse)
PLAINTIFFS DEFENDANTS
Pam Lie SKE Frawe/s @. Koblak
YILG Park woy GAive Kariryn A. Koés/ak

aka Kazuryw A. RolFe
Ld Tiley AYEe:
Cewrratia, WA 989 3/

Gargireta H4#s, OH GUL es

 

ATTORNEYS (Firm Name, Address, and Telephone No.} ATTORNEYS (if Known)

hare A. Wheeler
107 NW. Tower Sre /7?
Ceyrralr,WwA Sa&s53/
(27@0) ©23~-/007

 

 

PARTY (Check one box ony) + 1015. PLAINTIFF + 2U.S. DEFENDANT x" 3U.S. NOT A PARTY

 

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S, STATUTES INVOLVED)
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NATURE OF SUIT
(Check the one most appropriate box only.)

* 454 To Recover Money or Property * 455 To revake an order of confirmation * 456 To obtain a declaratory judgment
* 435 To Determine Validity, Priority, or of a Chap. 11 or Chap. 13 Plan relating to any of foregoing causes

Extent of a Lien or Other Interest in X 426 To determine the dischargeability of action

Property ofa debt 17 U.S.C, §523
* 458 To obtain approval forthe sale of }=+ 434 To obtain an injunction or other « 459 To determine a claim or cause of

both the interest of the estate and equitable relief action removed to a bankruptcy

of a co-owner in property * 457 To subordinate any allowed claim court
* 424 To object or to revoke a discharge or interest except where such

41 U.S.C. §727 subordination is provided in a plan * 498 Other (specify)
ORIGIN OF * 1 Original * 2 Remaved * 4 Reinstated « 5 Transferred PROCEEQINGS Proceeding
Proceeding or Reopened from Another * CHECK IF THIS IS A CLASS
(Check one box only.) Bankruptcy ACTION UNDER FRCP. 23

Court
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3 23 Osc hdr geagitiTy DEMAND
BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR Fpovess GO. Ka dlak BANKRUPTCY CASE NO.
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DISTRICT IN WHIGH CASE IS PENDING DMSIONAL OFFICE NAME OF JUDGE
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RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF DEFENDANT ADVERSARY PROCEEDING NO.
DISTRICT DIVISIONAL OFFICE NAME OF JUDGE.
FILING
FEE (Check one box only.) x - FEE ATTACHED » FEE NOT REQUIRED * FEE IS DEFERRED
DATE I-& PRINTNAME SIGNATURE OF ATTORNEY (OR PLAINTIFF)
-@-OF Pam Lieske Mark ASE SHR.

 

 

 

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